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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 SECURITIES AND EXCHANGE
 COMMISSION,
                                                                   23 Civ. 04738 (KPF)
                               Plaintiff,

                -against-

 COINBASE, INC. AND COINBASE GLOBAL,
 INC.,

                               Defendants.




     DECLARATION OF REBECCA R. DUNNAN IN SUPPORT OF PLAINTIFF’S
           OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

       I, Rebecca R. Dunnan, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.     I am an attorney admitted pro hac vice to appear as counsel for Plaintiff, U.S. Securities

and Exchange Commission (“SEC”) in the above-captioned action. I am trial counsel in the SEC’s

Division of Enforcement, working in the SEC’s home office in Washington, D.C. I submit this

declaration in support of the SEC’s Opposition to Defendants Coinbase, Inc. and Coinbase Global.,

Inc. (collectively, “Defendants” or “Coinbase”) Motion to Compel Discovery.

       2.     Attached as Exhibit 1 is a true and correct copy of a website capture of a March 27,

2024 post on X (formerly known as Twitter) from the account of Coinbase’s Chief Legal Officer,

@iampaulgrewal, https://twitter.com/iampaulgrewal/status/ 1772993916146479193.

       3.     Attached as Exhibit 2 is a true and correct copy of the June 4, 2024 Fed. R. Civ. P.

45 subpoena package sent from Coinbase to the Commodity Futures Trading Commission.

       4.     Attached as Exhibit 3 is a true and correct copy of a June 13, 2024 email from SEC

counsel to Coinbase counsel.


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       5.      Attached as Exhibit 4 is a true and correct copy of the Transcript of the July 11,

2024 Status Conference Hearing in the above-captioned matter. (D.E. 140).

       6.      Attached as Exhibit 5 is a true and correct copy of a July 12, 2024 letter from

Coinbase counsel to SEC counsel.

       7.      Attached as Exhibit 6 is a true and correct copy of a July 19, 2024 email from

Coinbase counsel responding to a July 17, 2024 email from SEC counsel regarding Coinbase’s Fed.

R. Civ. P. 45 subpoenas to the current SEC Chair and the Massachusetts Institute of Technology.

       8.      Attached as Exhibit 7 is a true and correct copy of the Minute Order Denying

Defendant’s Motion for Reconsideration in SEC v. Kik Interactive Inc., 19 Civ. 5244, Dkt. 36

(S.D.N.Y. Nov. 12, 2019).

       9.      Attached as Exhibit 8 is a true and correct copy of the Transcript of the April 6,

2024 Hearing in SEC v. Ripple Labs, Inc., No. 20 Civ. 10832, Dkt. 112 (S.D.N.Y. Apr. 6, 2021).

       10.     Attached as Exhibit 9 is a true and correct copy of the Transcript of the February 23,

2022 Hearing in SEC v. LBRY, Inc., No. 21 Civ. 260, Dkt. 50 (D.N.H. Feb. 23, 2022).

       11.     Attached as Exhibit 10 is a true and correct copy of an Order regarding discovery

disputes in SEC v. Ripple Labs, Inc., No. 20 Civ. 10832, Dkt. 163 (S.D.N.Y. May 6, 2021).

       12.     Attached as Exhibit 11 is a true and correct copy of a November 1, 2018 internal

SEC staff email regarding “Virtual Currency: Dash” forwarding an October 31, 2018 email from

DASH counsel including, as an attachment, the same memo cited by Coinbase at D.E. 149-9.

       13.     Attached as Exhibit 12 is a true and correct copy of a calendar invite for a meeting

with Coinbase on August 17, 2020 regarding “Coinbase Preso re: Filcoin,” from SEC staff to other

SEC staff.

       14.     Attached as Exhibit 13 is a true and correct copy of the SEC’s Responses and

Objections to Defendants’ First Set of Requests for the Production of Documents in SEC v. Kik


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Interactive, Inc., 19 Civ. 5244, Dkt. 34-3 (S.D.N.Y. Nov. 8, 2019).

        15.     Attached as Exhibit 14 is a true and correct copy of a Minute Entry in SEC v.

Terraform Labs, Inc., No. 23 Civ. 1346 (JSR) (S.D.N.Y. July 7, 2023).



        I declare under penalty of perjury that the foregoing is true and correct.


Dated: August 5, 2024                            By:       /s/ Rebecca R. Dunnan
Washington, DC                                             Rebecca R. Dunnan




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